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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

In re:
                                                     Case No.: 18-24540-BKC-AJC
Armando Rebull,                                      Chapter 13


Debtor.


                                  NOTICE OF FILING

          Nancy K. Neidich, Standing Chapter 13 Trustee, by and through the undersigned

counsel, files the instant Notice of Filing 100% Calculation.




                                                     Attorne for the Trustee
                                                     P.O. OX 279806
                                                     MI MAR, FL 33027
                                                     (954) 443-4402
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                  18-24540-RAM        Armando Rebull



POC         Creditor                                           Amount
      1.2   American Honda Finance Corporation                   $11,426.85
        2   PREMIER BANKCARD LLC                                    $502.49
        3   MERRICK BANK                                          $1,474.10
        4   Capital One Bank (USA), N.A.                          $1,579.90
        5   CACH LLC                                             $12,907.20
        6   PRA, LLC                                              $1,387.98
        7   PRA, LLC                                                $660.01
        8   WESTPORT RECOVERY CORPORATION                        $21,483.90
        9   CAPITAL ONE, NA                                         $603.08
       10   MIDLAND FUNDING LLC                                     $718.68
       11   MIDLAND FUNDING LLC                                     $635.74
       12   AT&T MOBILITY II LLC                                    $950.70
       13   Directv, LLC                                            $493.35
       14   UNITED STATES TREASURY (unsee}                       $1,878.68
       15   Objection Pending (dup}
                                                                 $56,702.66
